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                                                Certificate Number: 15317-MOE-CC-030143952


                                                               15317-MOE-CC-030143952




                     CERTIFICATE OF COUNSELING

 I CERTIFY that on November 8, 2017, at 8:34 o'clock AM PST, Mark S Fausett
 received from Access Counseling, Inc., an agency approved pursuant to 11 U.S.C.
 § 111 to provide credit counseling in the Eastern District of Missouri, an
 individual [or group] briefing that complied with the provisions of 11 U.S.C. §§
 109(h) and 111.
 A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
 copy of the debt repayment plan is attached to this certificate.
 This counseling session was conducted by internet.




 Date:   November 8, 2017                       By:      /s/Lea Sorino


                                                Name: Lea Sorino


                                                Title:   Counselor




 * Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
 Code are required to file with the United States Bankruptcy Court a completed certificate of
 counseling from the nonprofit budget and credit counseling agency that provided the individual
 the counseling services and a copy of the debt repayment plan, if any, developed through the
 credit counseling agency. See 11 U.S.C. §§ 109(h) and 521(b).
